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 6

 7                              UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
 9                                    WESTERN DIVISION
10
11   UNITED STATES OF AMERICA,                       Case No. CR-18-11-AB
12                 Plaintiff,
                                                     DEFENDANT'S POSITION RE:
13          V.                                       GOVERNMENT'S EX PARTE
                                                     APPLICATION FOR JUDICIAL
14    JEFFREY YOHAI,                                 FINDING THAT DEFENDANT
                                                     BREACHED HIS PLEA
15                 Defendant.                        AGREEMENT
16
            Without agreeing to any of the specific facts alleged, Defendant Jeffrey Yohai,
17
      by and through his counsel of record, hereby agrees that the government can prove that
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      he breached the plea agreement filed on January 11, 2018, by a preponderance of the
19
      evidence. Defendant Jeffrey Yohai, by and through his counsel of record, therefore
20
      does not oppose a judicial finding that he is in breach of the plea agreement.
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                 OTASHNER
24     ederal Public Defender
      Attorney for JEFFREY YOHAI
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